4/8/2021          Case 1:21-cr-00117-RCL Document   168-26
                                             Yahoo Mail          Filed
                                                        - Fwd: Ryan      09/30/22 Page 1 of 1
                                                                    Nichols




     Fwd: Ryan Nichols

     From: Don Nichols (dnichols3270@yahoo.com)

     To:   bonnienichols93@yahoo.com

     Date: Sunday, April 4, 2021, 08:47 PM CDT




     Sent from my iPhone

     Begin forwarded message:


           From: Willa Burton <willaburton@hotmail.com>
           Date: April 4, 2021 at 7:43:15 PM CDT
           To: dnichols3270@yahoo.com
           Subject: RE: Ryan Nichols




           To whom it may concern:
            This is written to tell you about Ryan Nichols.     I met Ryan when his Dad was Pastor at Nesbitt Baptist
           Church in Marshall, Texas. I have a granddaughter who is the age of Ryan and they
            were in the youth class together. Ryan was a quiet, respectable young man. He remained the same. Spent time in
           the service. Married and the father of 2 boys. Helped rescue people in floods and hurricanes. Always willing to help
           others. This is a worthy young man

           Will a Burton




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